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2021R00253/DVC
UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY
RECEIVED

UNITED STATES OF AMERICA: Criminal No. 22-225 (CO) AY 04 00

AT 8g0,__1L 72 3 eM
v. : 18 U.S.C. § 2423(b) Wien
: 18 U.S.C. 8§ 2251 (a) and (e)
: 18 U.S.C. § 2422(b)
ZACHARY WILLIAMS : 18 U.S.C. § 2252A(a)(5)(B) and (b)(2)

INDICTMENT

The Grand Jury in and for the District of New Jersey, sitting at Camden,
charges as follows:

COUNT ONE
(Travel with Intent to Engage in Illicit Sexual Conduct)

On or about October 2, 2020, in Atlantic County, in the District of New

Jersey, and elsewhere, defendant
ZACHARY WILLIAMS

did travel in interstate commerce from the State of New York to the State of New
Jersey, for the purpose of engaging, and attempting to engage, in illicit sexual
conduct, that is, a sexual act, as that term is defined in 18 United States Code,
Section 2246, with a person under the age of eighteen, that is, Minor Victim 1,
which sexual act would constitute a violation of Title 18, United States Code,
Chapter 109A ifthe sexual act occurred in the special maritime and territorial

jurisdiction of the United States.

In violation of Title 18, United States Code, Section 2423(b),
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COUNT TWO
(Travel with Intent to Engage in Hlicit Sexual Conduct)

On or about March 13, 2021, in Atlantic County, in the District of New

Jersey, and elsewhere, defendant
ZACHARY WILLIAMS

did travel in interstate commerce from the State of New York to the State of New
Jersey, for the purpose of engaging, and attempting to engage, in illicit sexual
conduct, that is, a sexual act, as that term is defined in 18 United States Code,
Section 2246, with a person under the age of eighteen, that is, Minor Victim 1,
which sexual act would constitute a violation of Title 18, United States Code,
Chapter 109A if the sexual act occurred in the special maritime and territorial

jurisdiction of the United States.

In violation of Title 18, United States Code, Section 2423(b).

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COUNT THREE
(Sexual Exploitation of a Child)

From in or about September 2020 through on or about December 8, 2020, in

Atlantic County, in the District of New Jersey, and elsewhere, defendant
ZACHARY WILLIAMS

_ did knowingly employ, use, persuade, induce, entice and coerce a minor, that is,
Minor Victim 1, to engage in sexually explicit conduct, as defined in Title 18,
United States Code, Section 2256(2), for the purpose of producing visual
depictions of such conduct, knowing that such visual depictions would be
transported and transmitted using a means and facility of interstate and foreign
commerce, namely, the Internet, and which visual depictions were produced and
transmitted using materials that had been mailed, shipped and transported in and
affecting interstate and foreign commerce by any means, including by computer,
and which visual depictions had actually been transported and transmitted using
any means and facility of interstate and foreign commerce and in and affecting

interstate and foreign commerce,

In violation of Title 18, United States Code, Sections 2251(a) and (e).

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COUNT FOUR
(Coercion and Enticement)

From in or about September 2020 through in or about March 13, 2021, in
Atlantic County, in the District of New Jersey, and elsewhere, defendant
ZACHARY WILLIAMS
did use a facility of interstate and foreign commerce, namely the Internet and a
cellular telephone, to knowingly persuade, induce, entice, and coerce an individual
who had not attained the age of 18 years, to engage in any sexual activity for which

any person can be charged with a criminal offense, and attempted to do so.

In violation of Title 18, United States Code, Section 2422(b),

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COUNT FIVE
(Possession of Child Pornography)

On or about March 13, 2021, in Atlantic County, in the District of New

Jersey, and elsewhere, defendant
ZACHARY WILLIAMS

did knowingly possess material that contained at least three images of child
pornography, as defined in Title 18, United States Code, Section 2256(8), that had
been mailed and shipped and transported using any means and facility of interstate
and foreign commerce, and in and affecting interstate and foreign commerce,
including by computer, and that was produced using materials that had been mailed
and shipped and transported in and affecting interstate and foreign: commerce by
any means, including by computer.

In violation of Title 18, United States Code, Sections 2252A(a)(5)(B) and

(b)(2).

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FORFEITURE ALLEGATION AS TO COUNTS ONE, TWO AND FOUR

Upon conviction of the offenses in violation of 18 U.S.C. § 2423(b) charged
in Counts One and/or Two of this Indictment, and/or the offense in violation of 18
U.S.C, § 2422(b) charged in Count Four of this Indictment, the defendant,

ZACHARY WILLIAMS,
shall forfeit to the United States pursuant to Title 18, United States Code, Section

2428(a):
a, Any property, real or personal, that was used or intended to be used to
! commit or to facilitate the commission of the offenses charged in
Count One, Count Two and/or Count Four; and
b, Any property, real or personal, that constitutes or is derived from
proceeds traceable to the offenses charged in Count One, Count Two
and/or Count Four.
The property to be forfeited includes, but is not limited to, the following property
seized from the defendant’s person on March 13, 2021, and the defendant’s
residence on or about March 19, 2021:
a. An Apple iPhone 12pro, serial number DNPDWUHY0D83;
b. An Apple iPhone 7, serial number DNPS81 AHHG6W; and
c. An Apple all-in-one MAC computer, model number A1862

hereinafter referred to collectively as the “Specific Properties’’).
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FORFEITURE ALLEGATION AS TO COUNTS THREE AND FIVE

Upon conviction of the offense in violation of 18 U.S.C. § 2251(a) charged
in Count Three of this Indictment and/or the offense in violation of 18 U.S.C. §
2252A(a)(2)(B) charged in Count Five of this Indictment, the defendant,

ZACHARY WILLIAMS,
shall forfeit to the United States pursuant to Title 18, United States Code, Section

2253; (a) all visual depictions described in Title 18, United States Code, Sections
2251, 2251A, 2252, 2252A, 2252B, and 2260, or any book, magazine, periodical,
film, videotape, or other matter which contains any such visual depiction, which
was produced, transported, shipped, or received in violation of Title 18, United
States Code, Chapter 109A; (b) all property, real and personal, constituting or
traceable to gross profits or other proceeds obtained from the offenses charged in
Counts Three and/or Five of this Indictment; and (c) all property, real and personal,
used or intended to be used to commit or to promote the commission of the offense
charged tn Counts Three and/or Five of this Indictment and all property traceable
to such property. The property to be forfeited includes, but is not limited to, the

Specific Properties,

SUBSTITUTE ASSETS PROVISION

If any of the above-described forfeitable property, as a result of any act or
omission of the defendant:
a. cannot be located upon the exercise of due diligence;

b. has been transferred or sold to, or deposited with, a third person;

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c. has been placed beyond the jurisdiction of the Court;
d. has been substantially diminished in value; or
e. has been commingled with other property which cannot be subdivided
without difficulty;
it is the intent of the United States, pursuant to 21 U.S.C. § 853(p), as incorporated
by 28 U.S.C. § 2461(c) and/or 18 U.S.C. § 2253, to seek forfeiture of any other

property of the defendant up to the value of the above forfeitable property.

A TRUE BILL

FOREPERSON-

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PHILIP R. SELLINGER
United States Attorney

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CASE NUMBER: 22-

United States District Court
District of New Jersey

UNITED STATES OF AMERICA

Vv.

ZACHARY WILLIAMS

INDICTMENT FOR
18 U.S.C. § 2423(b)
18 U.S.C. §§ 2251 (a)(1) and (e)
18 U.S.C. § 2422(b)
18 U.S.C. § 2252A(a)(5)(B) and (b)(2)

_ A True Bill. ,

Foreperson

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U.S. Attorney
Newark, New Jersey

DIANA VONDRA CARRIG
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Camden, New Jersey
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